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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION


XYZ CORPORATION,

       PLAINTIFF,

V.
                                                         CASE No.: 1:23-cv-15431
THE PARTNERSHIPS AND UNINCORPORATED
ASSOCIATIONS IDENTIFIED ON SCHEDULE A

       DEFENDANTS.


                            DECLARATION OF SANDY ZHUANG
      I, Sandy Zhuang, declare and state as follows:

        1.       This declaration is based upon my personal knowledge of the facts stated herein

 oron records that were made at the time or in the regular course of business. If called as a witness,

 I could and would testify to the statements made herein.

        2.       I am a certified translator, working at TransPerfect, with a headquarters of:

                                 Transperfect Translations International, Inc.

                                 Transperfect Global HQ

                                 1250 Broadway, 7th Floor, New York, Ny 10001

        3.       TransPerfect is globally certified under the standards ISO 9001:2015, ISO

 17100:2015, and ISO 18587:2017. This Declaration, and the attached Translation Certificate

 (attached hereto as Exhibit 1) confirms the included documents have been completed in

 conformance with the Quality Management System documented in its ISO process maps and

 are, to the best knowledge and belief of all TransPerfect employees engaged on the project, full

 and accurate translations of the source material.


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